          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 1 of 13



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CHRISTOPHER HERRERA,                          )
                                              )
                       Plaintiff,             )               Civil Action No. 16-894
                                              )
               v.                             )
                                              )               Judge Cathy Bissoon
COMMUNITY COLLEGE OF                          )
ALLEGHENY COUNTY,                             )
                                              )
                       Defendant.             )



                                    MEMORANDUM ORDER

       On January 4, 2017, and in advance of a Preliminary Injunction Hearing, the Court issued

the following Order granting Defendant’s Motion for Summary Judgment:

   The Court has opted to decide Defendant’s Motion for Summary Judgment (Doc. 18) on the
   papers. Based on the Court’s review of the parties’ briefing and the record, summary
   judgment will be GRANTED for Defendant. An opinion will follow. The Court will not
   issue a Rule 58 Judgment closing the case until it issues its written opinion on the Motion for
   Summary Judgment. IT IS FURTHER ORDERED that Plaintiff’s Motion for a Preliminary
   Injunction (Doc. 6) is DENIED. Accordingly, the Preliminary Injunction Hearing set for
   1/6/17 is CANCELED.

(Doc. 26). What follows is the Court’s opinion analyzing Defendant’s Motion for Judgment.

                                        I. MEMORANDUM

       Pending before the Court are Defendant Community College of Allegheny County

(“Defendant” or “CCAC”)’s Motion for Summary Judgment, and Plaintiff Christopher Herrera

(“Plaintiff”)’s Motion for a Preliminary Injunction. Plaintiff claims that Defendant discriminated

against him on the basis of disability by refusing to allow him to participate in its remediation

program after he failed to satisfy the school’s academic requirements in violation of Section 504

of the Rehabilitation Act (“RA”) and the Americans with Disabilities Act (“ADA”). Plaintiff
          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 2 of 13



asks the Court to reverse the denial of his academic appeal and order his reinstatement to the

school’s Physical Therapy Assistant program. For the reasons that follow, Defendant’s motion

for summary judgment will be granted, and Plaintiff’s motion for a preliminary injunction will

be denied.

BACKGROUND

       Plaintiff contends that he suffers from Attention Deficit Hyperactivity Disorder (ADHD).

Plaintiff was first diagnosed with ADHD via a “computer test” conducted by Dr. Charles Bonner

during his sophomore year of high school. (Doc. 20) at ¶ 19; (Doc. 23) at ¶ 19. At that time,

Plaintiff was prescribed a 5 milligram dose of Adderall XR, which later increased to 30

milligrams several years ago. (Id.)

       Plaintiff enrolled in CCAC in August 2009. (Doc. 20) at ¶ 18; (Doc. 23) at ¶18. On or

about December 30, 2013, Plaintiff applied for the Physical Therapist Assistant (“PTA”)

Program, a program accredited through the Commission on Accreditation in Physical Therapy

Education. (Doc. 20) at ¶¶ 11, 22; (Doc. 23) at ¶¶ 11, 22. Plaintiff was informed that he was

not accepted into the PTA program because his “Total Admission Score (TAS) was lower than

those of the applicants accepted into the PTA Program.” (Doc. 20) at ¶ 22; (Doc. 23) at ¶ 22.

Plaintiff, however, requested that CCAC place his application “on hold” if a space opened up.

(Doc. 20) at ¶ 23; (Doc. 23) at ¶ 23. By letter dated May 16, 2014, Plaintiff was advised that he

was conditionally accepted into the PTA Program for the fall 2014 semester. (Id.) The May 16,

2014 letter included information regarding the process for requesting for accommodations for

students with a disability. (Doc. 20) at ¶ 24; (Doc. 23) at ¶ 24.

       Plaintiff completed and signed a Student Contact Information Form on June 30, 2014.

(Doc. 20) at ¶ 25; (Doc. 23) at ¶ 25. In it, he checked the “no” box to each of the following



                                                  2
          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 3 of 13



questions: “3. Do you wish to inform program faculty and your clinical/fieldwork supervisor(s)

of any pertinent condition(s)which may present issues in class, lab or at the clinical/fieldwork

site?”; “4. Have you made contact with CCAC/Boyce Campus “Supportive Services for Students

with Disabilities?”; and “5. If you answered yes, to Item #4, do you require any appropriate and

reasonable accommodation?” (Id.) Plaintiff listed, however, that he took the following

medication: “Adderall XR, 30 milligrams.” (Doc. 20) at ¶ 26; (Doc. 23) at ¶ 26.

       On September 25, 2014, Plaintiff completed and signed the “PTA Program Student

Participation Contract.” (Doc. 20) at ¶ 27; (Doc. 23) at ¶ 27. Plaintiff acknowledged that he

reviewed the Physical Therapist Assistant Program Student Manual (Student Manual) on or

before September 25, 2014. (Doc. 20) at ¶ 28; (Doc. 23) at ¶ 28. Section I of the Student

Manual includes a PTA Program Comprehensive Examination Policy, PTA Program Progression

Policy, PTA Program Remediation Process, and PTA Program Re-Application Process. (Doc.

20) at ¶ 29; (Doc. 23) at ¶ 29. The “PTA Program Comprehensive Examination Policy” states

that a “passing score of 75% is required in order for the student to progress to the next semester

of the PTA program.” (Doc. 20) at ¶ 30; (Doc. 23) at ¶ 30. The “PTA Program Comprehensive

Examination Policy” further states that “[s]tudents who do not pass with a 75% or higher are

required to meet with the PTA program faculty.” (Doc. 23) at ¶30. Finally, the “PTA Program

Comprehensive Examination Policy” explains that students will not be permitted to progress if

they do not meet minimal academic requirements that include: maintaining a 75% or better grade

in all required courses; and achieving a 75% or better on the comprehensive exams. (Doc. 20) at

¶ 31; (Doc. 23) at ¶ 31. The “PTA Program Remediation Process” sets forth a five step

procedure to be followed if “a student scores below the passing score on any test, assignment, or

clinical.” (Doc. 20) at ¶ 32; (Doc. 23) at ¶ 32. The “PTA Program Re-Application Process” sets



                                                 3
          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 4 of 13



forth factors to be considered for students who re-apply and states that “[s]tudents may re-enter

the PTA program once, and may repeat any major course only once.” (Doc. 20) at ¶ 33; (Doc.

23) at ¶ 33. The “PTA Program Re-Application Process” also requires that the student

“successfully complete PTA course examination with an 85% or higher to demonstrate subject

matter competency.” Section II of the Manual is entitled “Boyce Campus Allied Health

Programs Policies & Guidelines.” (Doc. 20) at ¶ 34; (Doc. 23) at ¶ 35. In Section II, students

are informed that a student achieving less than a letter grade of “C” in a required course may

repeat the course, however, “if the course is a prerequisite to subsequent courses in the program

of study, they must re-apply to the program.” (Doc. 20) at ¶ 35; (Doc. 23) at ¶36.

       Between 2010 and December 2014, Plaintiff saw psychiatrist Joel Diamond every three

months to monitor the adverse or potential adverse effects of Adderall. (Doc. 20) at ¶36; (Doc.

23) at ¶ 37. At some point in 2014, Plaintiff contacted CCAC’s “Supportive Services for

Students with Disabilities” regarding his ADHD, and someone at that office advised him to

provide the school with a letter from his physician and a Verification of Disability form. (Doc.

20) at ¶ 37; (Doc. 23) at¶ 38. On January 26, 2015, Plaintiff submitted a letter from Dr.

Diamond, dated December 12, 2014, which stated, in relevant part, that: “Christopher is

diagnosed with Attention deficit disorder (ADHD), due to this condition Christopher may need

additional time or assistance with his schooling.” (Doc. 20) at ¶¶ 39, 44; (Doc. 23) at ¶¶ 40, 45.

Plaintiff also submitted a Verification of Disability form, completed by Dr. Diamond, which

indicated that Plaintiff was diagnosed “prior to being our patient, new to us in 2010.” (Doc. 20)

at ¶ 40; (Doc. 23) at ¶ 41. In response to a question about symptoms, functioning, treatment,

severity of the disorder and expected prognosis, Dr. Diamond stated that Plaintiff’s “ADHD is

well treated w/ medication.” (Doc. 20) at ¶ 41; (Doc. 23) at ¶ 42. In response to the remaining



                                                 4
          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 5 of 13



questions, Dr. Diamond identified no functional limitations or necessary accommodations. (Doc.

20) at ¶ 42; (Doc. 23) at ¶ 43.

        On February 3, 2015, Plaintiff received “Disability Certification for Faculty” forms from

Supportive Services. (Doc. 20) at ¶ 46; (Doc. 23) at ¶ 47. To receive an accommodation,

students must deliver these forms to the teaching faculty members who will provide the

accommodation. (Doc. 20) at ¶ 47; (Doc. 23) at ¶ 48. Plaintiff submitted a form to his then-

Professor and the Clinical Coordinator of Clinical Education in the PTA Program, Stephen W.

Bannister, identifying the following accommodation: “EEX: Extended Time Exam.” (Doc. 20)

at ¶¶10, 46; (Doc. 23) at ¶¶10, 47. Plaintiff testified that he was given time and a half as an

extended test time at CCAC after he sought this accommodation. 1 (Doc. 20) at ¶ 49; (Doc. 23) at

¶ 50.

        On August 17, 2015, Plaintiff signed the Receipt of PTA 202 Course Outline and CCAC

Student Handbook 2015-2016. (Doc. 20) at ¶ 56; (Doc. 23) at ¶ 56. The Receipt form signed by

Plaintiff states, in relevant part, that “I understand that successful completion of PTA 202

requires that students must achieve a letter grade of “C” (75%) in PTA passing the

Comprehensive Examination with a 75% or higher . . . If I do not achieve a letter grade of “C”

(75%) or higher in PTA 202, I understand that I will be dismissed from the Physical Therapist

Assistant Program…” (Doc. 20) at ¶ 57; (Doc. 23) at ¶ 57. On September 22, 2015, Plaintiff

spoke with Dr. Bannister about his poor performance in the class. Thereafter, Plaintiff received a

letter from Dr. Bannister listing a number of missing items from his student record, and




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  Indeed, even though Plaintiff did not provide the Disability Certificates to his professors for the
fall 2015 classes, he admits that he was afforded extended time on examinations during that
semester. (Doc. 20) at ¶ 54; (Doc. 23) at ¶ 55.

                                                  5
          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 6 of 13



recommending that Plaintiff follow up with CCAC’s Early Intervention System due to his score

of 76% on a PTA exam. (Doc. 20) at ¶ 58; (Doc. 23) at ¶ 58; (Doc. 21-2) at 54.

       On September 29, 2015, Drs. Johnson and Bannister were advised that based on their

referrals for early intervention, Supportive Services employee Edward Adams had contacted

Plaintiff on September 28, 2015, via email and telephone, and suggested to Plaintiff that he use

tutors and better utilize accommodations. (Doc. 20) at ¶ 59; (Doc. 23) at ¶ 59. Despite these

suggestions, Plaintiff admitted to only attending one group tutoring session with Barb Scholle.

(Doc. 20) at ¶ 60; (Doc. 23) at ¶ 60. Otherwise, Plaintiff studied with his mother at home and

with study groups from school. (Doc. 20) at ¶ 61; (Doc. 23) at ¶ 61.

       On October 29, 2015, Plaintiff again complete and signed the Student Contact

Information Form. On this form, he checked the “yes” box to the question “3. Do you wish to

inform program faculty and your clinical/fieldwork supervisor(s) of any pertinent condition(s)

which may present issues in class, lab or at the clinical/fieldwork site?” and stated “A.D.D.,

however I won’t let this affect my performance.” (Doc. 20) at ¶ 68; (Doc. 23) at ¶ 68. Further,

in response to question 5 on the form, “do you require any appropriate and reasonable

accommodation?” Plaintiff requested “extended time for test.” (Doc. 20) at ¶ 69; (Doc. 23) at ¶

69). Plaintiff again was provided with the accommodations he requested. (Doc. 20) at ¶ 71;

(Doc. 23) at ¶ 71. Additionally, although Plaintiff did not provide Dr. Bannister with prior

notice for a separate testing space, Plaintiff was provided with a separate testing space for the

December 1, 2015 PTA 202 Comprehensive Exam. (Doc. 20( at ¶¶70, 73; (Doc. 23) at ¶¶ 70,

73. On December 3, 2015, Plaintiff received a letter from Norman L. Johnson, the PTA Program

Director, stating that he received a 71% on his PTA 202 Comprehensive Examination, below the

required 75% threshold. (Doc. 20) at ¶ 79; (Doc. 23) at ¶ 80. The December 3, 2015 letter



                                                 6
          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 7 of 13



recommended that Plaintiff contact CCAC’s Boyce Campus counselors or meet with his

Academic Advisor; however, Plaintiff contends that he did not do so because he wanted to

pursue the remediation process. (Doc. 20) at ¶ 80; (Doc. 23) at ¶ 81.

       On December 3, 2015, Plaintiff met with Drs. Johnson and Bannister, where they

discussed Plaintiff reapplying for the program. (Doc. 20) at ¶ 81; (Doc. 23) at ¶ 82. Plaintiff

testified that he was discouraged from reapplying and was asked if there are any other careers he

might be interested in. 2 (Doc. 23) at ¶ 82. Plaintiff also testified that Dr. Johnson stated during

that meeting: “I wanted to play for the NFL, but that is not happening either.” (Doc. 21-1) at

32:15-16. On December 10, 2015, Plaintiff again met with Dr. Bannister. (Doc. 20) at ¶ 83;

(Doc. 23) at ¶ 84. During that meeting, Dr. Bannister noted that Plaintiff failed to complete one

of the assigned quizzes in Blackboard. (Doc. 20) at ¶ 86; (Doc. 23) at ¶ 87. Additionally, Dr.

Bannister reviewed his grades for accuracy. (Doc. 20) at ¶ 87; (Doc. 23) at ¶ 89. Among other

things, Plaintiff agreed with notations in his student record that he: (a) participated in only five of

11 scheduled proctored test reviews; (b) did not follow up on the recommendations for Perkins

tutoring for both PTA 201 and PTA 202; and (c) did not participate in any summer open labs.

(Doc. 20) at ¶ 84; (Doc. 23) at ¶ 85. However, Plaintiff testified that he participated in more than

six in-semester open labs but was not aware of a sign-in sheet during the last semester. (Doc. 20)

at ¶ 85; (Doc. 23) at ¶ 86.

       On December 10, 2015, Plaintiff sent an email to Dr. Johnson stating: “I just wanted to

schedule a remediation meeting to figure out what to do from here.” (Doc. 20) at ¶ 88; (Doc. 23)

at ¶ 90. Dr. Johnson’s response was: “Good afternoon. When Dr. Bannister and I met with you

on 12/3, I recommended that you meet with an Academic Advisor to investigate what courses

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 Plaintiff claims that he is aware of two students who reapplied and/or reentered the program.
(Doc. 20) at ¶ 82; (Doc. 23) at ¶ 83.
                                                  7
          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 8 of 13



you would need to complete to earn a General Studies degree from CCAC. Did you meet with an

Academic Advisor? If not, please do so. I am available to meet on Tuesday, 12/15 at 10:30 a.m.”

(Doc. 20) at ¶ 89; (Doc. 23) at ¶ 91. Plaintiff responded: “Thank you. I appreciate your input and

am currently considering my options. I do not want to abandon this program and would like to

know what steps I need to take to continue. Thank you again.” (Doc. 20) at ¶ 90; (Doc. 23) at ¶

92.

       On December 15, 2015, Plaintiff met with Dr. Lillian Briola, ALH Department Head

Boyce Campus. (Doc. 20) at ¶ 92; (Doc. 23) at ¶ 94. On December 17, 2015, Plaintiff filed an

academic complaint under CCAC’s Student Academic Complaint Procedure, which stated in

part: “I have a learning disability which is on record with CCAC. I do not feel that the program

offered me any assistance to accommodate my disability other than more time on tests and a

separate room for the comp exam.” (Doc. 20) at ¶ 93; (Doc. 23) at ¶ 95. Plaintiff met with Dr.

Tomi Waters, Associate Dean of Academic Affairs on December 22, 2015. (Doc. 20) at ¶ 95;

(Doc. 23) at ¶ 97. Dr. Waters issued a decision by letter on January 4, 2016, wherein she noted

that Plaintiff was “given the accommodations for this test that you had requested when you

registered with this office at the beginning of the semester” and that he “did not participate in

any of the academic remediation activities that were recommended to you by the PTA Program,

including PTA study groups, Perkins tutoring, or other tutoring services.” (Doc. 20) at ¶ 96;

(Doc. 23) at ¶ 98. In her January 4 determination letter, Dr. Waters also stated that the “D”

grades in PTA 202 and PTA 201 “preclude you from moving forward in the PTA Program, per

the Allied Health Program guidelines.” (Doc. 20) at ¶ 97; (Doc. 23) at ¶ 99.

       Plaintiff and his mother met with Richard Allison, Dean of Academic Affairs, on January

25, 2016. (Doc. 20) at ¶ 98; (Doc. 23) at ¶ 100. On January 29, 2016, Dean Allison issued a



                                                  8
          Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 9 of 13



letter upholding Dr. Waters’s decision. (Doc. 20) at ¶ 99; (Doc. 23) at ¶ 101. Since receiving

Dean Allison’s January 29, 2016 letter, Plaintiff has had no further communications with anyone

who is a part of the Physical Therapy Assistant program at CCAC. (Doc. 20) at ¶ 100; (Doc. 23)

at ¶ 102. Plaintiff has not reapplied to the PTA program. (Doc. 20) at ¶ 101; (Doc. 23) at ¶ 103.

ANALYSIS

       Plaintiff alleges that Defendant discriminated against him on the basis of his disability in

violation of the RA and the ADA by refusing to allow him to participate in the PTA Program

Remediation Process. Both the RA and the ADA bar an entity that receives federal funding,

such as CCAC, from discriminating against an individual on account of that individual’s

disability. See McDonald v. Pennsylvania, 62 F.3d 92, 95 (3d Cir. 1995). The standards for

determining a violation of the RA are the same as those under the ADA. See Chisolm v.

McManimon, 275 F.3d 315, 324 n.9 (3d Cir. 2001). Accordingly, the Court “confine[s] [its]

discussion to the ADA with the understanding that the principles will apply equally to the

Rehabilitation Act . . ..” Id.; see also S.H. ex rel. Durrell v. Lower Merion School Dist., 729 F.3d

248, 260 (3d Cir. 2013) (“The same standards govern both the RA and the ADA claims.”);

Chambers ex rel. Chambers v. Sch. Dist. of Phila. Bd of Edu., 587 F.3d 176, 189 (3d Cir. 2009).

       To state a claim for disability discrimination under the ADA, “[p]laintiffs must show that:

(1) they are handicapped or disabled as defined under the statutes; (2) they are otherwise

qualified to participate in the program at issue; and (3) they were precluded from participating in

a program or receiving a service or benefit because of their disability.” CG v. Pennsylvania

Dep't of Educ., 734 F.3d 229, 235 (3d Cir. 2013) (citing Chambers ex rel. Chambers, 587 F.3d at

189). Plaintiff indisputably meets the first prong of this test: he has submitted that he suffers

from ADHD, a recognized disability under the ADA and RA. See C.H. v. Cape Henlopen Sch.



                                                 9
         Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 10 of 13



Dist., 606 F.3d 59, 62 (3d Cir. 2010). Defendant argues, however, that Plaintiff has not met the

second and third prongs of the test. The Court agrees.

       First, Plaintiff has not met his prima facie burden of showing that he is “otherwise

qualified” to remain in the PTA program. “An otherwise qualified individual is a person who

can meet all of a program’s requirements in spite of a disability, with or without reasonable

accommodation.” Millington v. Temple Univ. Sch. of Dentistry, 261 Fed. Appx. 363, 366 (3d

Cir. Jan. 23, 2008) (unpublished) (citing Southeastern Comm. Coll. v. Davis, 442 U.S. 397, 406

(1979) and McDonald v. Pennsylvania, 62 F.3d 92, 96 (3d Cir. 1995)). 3

       Here, Plaintiff plainly did not meet the academic standards required by the program as he

failed to achieve the required score of 75% in PTA 201 and PTA 202. Plaintiff seems to argue

that he did not meet these standards due to his disability. However, the undisputed evidence

demonstrates that Plaintiff did not meet the academic requirements of the program even after

CCAC provided him with all requested accommodations, including extended time to complete

exams and a separate testing area. (Doc. 20) at ¶¶ 70, 71, 73; (Doc. 23) at ¶¶ 70, 71, 73.

Furthermore, Defendants have presented substantial evidence that Plaintiff did not fully utilize

the remedial resources available to him for reasons unrelated to his identified disability. For

example, he ignored recommendations for tutoring, did not attend any summer labs and

participated in less than half of the 11 test reviews. (Doc. 20) at ¶¶ 84, 85; (Doc. 23) at ¶¶ 85,

86.

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  Plaintiff argues that the definition of an “otherwise qualified individual” set out in Millington is
inapt, since Millington was not a disparate treatment but rather a reasonable accommodations
case. However, Millington’s definition of an “otherwise qualified individual” under the ADA
fully comports with the standard used by Court of Appeals for the Third Circuit in disparate
treatment cases. See, e.g., Shaner v. Synthes, 204 F.3d 494, 500 (3d Cir. 2000) (in order to
establish a prima facie case of disparate treatment under the ADA, a plaintiff must show, inter
alia, that he is otherwise qualified to perform the essential functions of the job, with or without
reasonable accommodations by the employer).
                                                 10
         Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 11 of 13



       Plaintiff cites North v. Widener University, 69 F. Supp.2d 630 (E.D. Pa. 2012), to support

his position that he was “otherwise qualified” to participate in the academic program. (Doc. 22)

at 6. Plaintiff’s reliance on North v. Widener University is misplaced. There, the court found

that a plaintiff with a disability who was dismissed from a Doctorate of Psychology Program was

“otherwise qualified” because “when plaintiff was expelled in the Fall of 2011, he was in good

academic standing. If his retake exam had been one point higher, no grounds would exist for

expulsion.” 69 F. Supp.2d at 633. Here, in contrast, Plaintiff was not in good academic standing

when he was dismissed from the PTA program. To the contrary, as noted, he failed to satisfy the

academic requirements of the program, despite receiving various accommodations from CCAC,

as well as recommendations concerning how he could improve his academic performance.

       Furthermore, even if Plaintiff can show that he was an “otherwise qualified individual,”

his RA and ADA claims still fail because he has adduced no evidence of discrimination.

Plaintiff first argues that there is an inference of discrimination in this case because he “was

explicitly informed, during discussions with Dr. Johnson about his grades, of other students who

had been allowed to progress despite grades lower than 75% on the Comprehensive

Examination.” (Doc. 22 at 9) (citing Doc. 21 at 85:18-24). Plaintiff argues that “[g]iven that the

remediation process was available to typically-developing PTA students, and that Plaintiff was

not provided with the benefit of the remediation process, this denial gives rise to the inference of

disability-based discrimination.” (Doc. 22 at 10). The Court agrees that, typically, an inference

of discrimination may arise when “similarly situated persons not within the protected class were

treated more favorably [than plaintiff].” Sarullo v. U.S. Postal Serv., 352 F.3d 789, 798 n. 7 (3d

Cir.2003). Here, however, despite having had ample opportunity to conduct discovery on this

issue, Plaintiff has submitted no record evidence that any “typically-developing” student was



                                                 11
         Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 12 of 13



allowed to progress in the program under similar circumstances to Plaintiff’s. Because Plaintiff

fails to identify these alleged “comparators,” the Court has no basis to determine whether they

are, in fact, similarly situated to Plaintiff (e.g., whether they took the same classes, received

similar exam scores, participated in the same amount of tutoring, etc.). See Monaco v. Am. Gen.

Assurance Co., 359 F.3d 296, 305 (3d Cir. 2004) (the analysis of whether someone is similarly

situated to the plaintiff “requires the court to undertake a fact-intensive inquiry on a case-by-case

basis”). Because Plaintiff has not provided the Court with anything more than mere conjecture,

the Court is unable to draw the inference that Plaintiff was treated unfavorably on the basis of his

disability. Likewise, the Court disagrees with Plaintiff’s claim that Dr. Johnson’s alleged

comment that “he wanted to play in the NFL, but that wasn’t going happen either” is evidence of

discrimination. (Doc. 21) at 32:13-16. This comment, which does not in any way reference

Plaintiff’s ADHD or any other disability, cannot form the basis of a disability discrimination

claim. See Williams–McCoy v. Starz Encore Grp., 2004 WL 356198, at *8 (E.D. Pa. Feb.5,

2004) (no evidence of unlawful racial discrimination where “not one single race-based comment

is alleged and there is no logical inference that the comments were, in fact, race-based”).

       Because Plaintiff has failed to adduce any evidence to establish a prima facie claim of

disability discrimination, the Court will grant Defendant’s Motion for Summary Judgment, and

deny Plaintiff’s Motion for a Preliminary Injunction.



                                              II. ORDER

   Consistent with the Court’s January 4, 2017 Order (Doc. 26) and for the reasons stated

above, the Court hereby GRANTS Defendant’s Motion for Summary Judgment and DENIES




                                                  12
         Case 2:16-cv-00894-CB Document 27 Filed 06/29/17 Page 13 of 13



Plaintiff’s Motion for a Preliminary Injunction. A separate Judgment Order pursuant to Federal

Rule of Civil Procedure 58 will follow.



June 29, 2017
                                                          s/Cathy Bissoon
                                                          Cathy Bissoon
                                                          United States District Judge


cc (via ECF email notification):

All counsel of record.




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